                                                     Case 13-40884-lkg           Doc 46     Filed 01/07/14         Page 1 of 2



                                                                                      Form 1                                                                              Page: 1

                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         13-40884 GKL                                                               Trustee: (330610)           Dana S Frazier, Trustee
Case Name:           OLDLAW CORPORATION                                                         Filed (f) or Converted (c): 08/13/13 (f)
                                                                                                §341(a) Meeting Date:       09/27/13
Period Ending:       12/31/13                                                                   Claims Bar Date:            11/12/13

                                1                                            2                         3                          4                  5                    6

                       Asset Description                                  Petition/            Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                    Unscheduled       (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                           Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                           and Other Costs)                                                Remaining Assets

 1       200,400 sq. ft. industrial facility                             2,200,000.00                   950,000.00                                       0.00           950,000.00
           at 1 Industrial Park Rd.,
         Metropolis, IL, on 14 acres. 2 external steel buildings, one
         is 3,600 sq. ft., the other is 8,400 sq. ft.;

 2       Chase Bank Account                                                  9,377.30                      7,074.20                                  7,074.16                  0.04

 3       11 filing cabinets                                                  5,655.00                      1,000.00                                      0.00              1,000.00
           13 work station desks
         16 rolling desk chairs
         25 break room tables
         38 stackable chairs
         7 Up machine
         8 metal shelves
         conference table
         ice machine
         lockers
         misc brak room supplies (coffess pots, etc)
         misc computer components
         setee with two upholstered chairs and 4 end tables
         forklift

 3       Assets           Totals (Excluding unknown values)             $2,215,032.30                  $958,074.20                                  $7,074.16          $951,000.04




                                                                                                                                                Printed: 01/03/2014 10:23 AM   V.13.13
                                                  Case 13-40884-lkg             Doc 46      Filed 01/07/14        Page 2 of 2



                                                                                    Form 1                                                                                   Page: 2

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                                                                         Values             Less Liens, Exemptions,      OA=§554(a) abandon.       the Estate        Gross Value of
Ref. #                                                                                          and Other Costs)                                                    Remaining Assets



    Major Activities Affecting Case Closing:
            Trustee filed notice to sell real and personal property on December 20, 2013. If objections or higher bids, hearing to be held 1/22/2014.

    Initial Projected Date Of Final Report (TFR): June 1, 2014                             Current Projected Date Of Final Report (TFR): December 30, 2014




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